UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
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In re:                                                             Chapter 11

MKJC AUTO GROUP, LLC,                                              Case No. 20-42283 (JMM)
d/b/a HYUNDAI OF LIC,
                                       Debtor.
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                                         NOTICE OF ADJOURNMENT

                   PLEASE TAKE NOTICE, that the Debtor’s Objection to Claim Number 2 in the

above-referenced confirmed Chapter 11 case has been adjourned from March 3 2020 at 11:00 am to

April 7, 2021 at 2:00 pm, and will be held telephonically be Hon. Jil Mazer-Marino at Dial in

Number 888-273-3658 and Access Code – 2872314.

DATED:             New York, New York
                   February 24, 2021
                                                            Shafferman & Feldman LLP
                                                            Attorneys for MKJC Auto Group, LLC
                                                            137 Fifth Avenue, 9th Floor
                                                            New York, New York 10010
                                                            (212) 509-1802

                                                            By:    _/S/ Joel Shafferman____________
                                                                   Joel M. Shafferman (JMS – 1055)




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